Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Prohealth Rural Health Services, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Prohealth Community Health Center
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 2029
                                  Brentwood, TN 37024
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Williamson                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Prohealth Rural Health Services, Inc.                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District   MDTN                          When       8/29/18                    Case number    18-05771
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Prohealth Rural Health Services, Inc.                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Prohealth Rural Health Services, Inc.                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 25, 2019
                                                  MM / DD / YYYY


                             X   /s/ Michael Gaw, Chairman                                                Michael Gaw, Chairman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chairman of the Board




18. Signature of attorney    X   /s/ Griffin S. Dunham                                                     Date June 25, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Griffin S. Dunham
                                 Printed name

                                 Dunham Hildebrand, PLLC
                                 Firm name

                                 2416 21st Avenue South
                                 Suite 303
                                 Nashville, TN 37212
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615.933.5850                  Email address      griffin@dhnashville.com

                                 27043 TN
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Prohealth Rural Health Services, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF TENNESSEE                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bill Sekulovski, MD                                             From ECF Claim                                                                                           $19,510.26
 2095 Hemlock Drive                                              No. 15 in Case No.
 Spring Hill, TN                                                 18-05771
 37174
 Crye-Leike Property                                             Commercial Lease                                                                                         $28,700.84
 5111 Peter Taylor
 Park Dr. #700
 Brentwood, TN
 37027
 First Tennessee                                                 Office Furniture                                   $348,000.00               $144,944.00               $203,056.00
 Bank                                                            and Equipment
 511 Union Street
 Nashville, TN 37219
 Harold E. Crye                                                  From ECF Claim                                                                                           $36,197.05
 Living Trust                                                    No. 6 in Case No.
 c/o Wesley Hall, III,                                           18-05771
 Esq.
 223 Madison Street,
 Ste 212
 Madison, TN 37115
 Internal Revenue                                                4Q 2018 FICA: 1Q                                                                                         $47,117.86
 Service                                                         2019 FICA
 Centralized                                                     From ECF Claim
 Insolvency                                                      No. 16 in Case No.
 Operation                                                       18-05771
 Post Office Box
 7346
 Philadelphia, PA
 19101-7346
 Internal Revenue                                                FICA Taxes for                                                                                         $306,863.24
 Service                                                         2Q, 3Q & 4Q 2017;
 Centralized                                                     and 1Q, 2Q & 3Q
 Insolvency                                                      2018
 Operation                                                       From ECF Claim
 Post Office Box                                                 No. 1 in Case No.
 7346                                                            18-05771
 Philadelphia, PA
 19101-7346

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Prohealth Rural Health Services, Inc.                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jane White, MD                                                                                                                                                           $53,434.91
 1125 Cedarview
 Lane
 Franklin, TN 37067
 LHT Knoxville                                                   Commercial                                                                                               $45,086.72
 Properties                                                      Lease; From ECF
 1381 Collection                                                 Claim No. 17 in
 Center Drive                                                    Case No. 18-05771
 Chicago, IL 60693
 Mt. Zion Baptist                                                Commercial        Disputed                                                                               $30,185.93
 Chruch                                                          Lease; From ECF
 Collier International                                           Claim No. 7 in
 615 3rd Avenue                                                  Case No. 18-05771
 South 500
 PA 16483-9700
 Quest Diagnostics                                               From ECF Claim                                                                                           $31,657.14
 PO Box 740736                                                   No. 14 in Case No.
 Atlanta, GA 30374                                               18-05771
 Ray White                                                                                                                                                                $19,343.93
 1125 Cedarview
 Lane
 Franklin, TN 37067
 Ray White                                                       RE: Pay and                                                                                            $837,348.75
 1125 Cedarview                                                  Retirement
 Lane
 Franklin, TN 37067
 Robert D. Stallings                                             From ECF Claim     Disputed                                                                            $206,796.80
 c/o Seth M. Hyatt                                               No. 19 in Case No.
 414 Union Street,                                               18-05771
 Ste 900
 Nashville, TN 37219
 Ruth Sirgo                                                      From ECF Claim                                                                                           $30,000.00
 109 Zuric Court                                                 No. 4 in Case No.
 Nashville, TN 37221                                             18-05771
 The White Family                                                Accounts                                           $349,459.86                        $0.00            $349,459.86
 Irrevocable Trust                                               receivable, FQHC
 5032 Trousdale                                                  Designation, 340
 Drive                                                           B Approval,
 Nashville, TN 37220                                             Pharmacy License
 The White Family                                                Pharmacy license,                                  $281,106.00                        $0.00            $281,106.00
 Irrevocable Trust                                               FQHC
 1125 Cedarview                                                  Designation, 340B
 Lane                                                            Approval and
 Franklin, TN 37069                                              License
 TN Dept of Labor                                                Unemployment                                                                                             $20,825.05
 c/o TN Atty                                                     taxes for: 3Q & 4Q
 General's Office                                                2018; 1Q 2019
 Bankr. Div.                                                     From ECF Claim
 PO Box 20207                                                    No. 20 in Case No.
 Nashville, TN 37202                                             18-05771




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Prohealth Rural Health Services, Inc.                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TN Dept of                                                      From ECF Claim     Disputed                                                                        $18,722,234.00
 TennCare (Bureau)                                               No. 18 in Case No.
 c/o TN Atty                                                     18-05771
 General's Office
 Bankr. Div.
 PO Box 20207
 Nashville, TN 37202
 U.S. Dept of Labor                                              From ECF Claim                                                                                           $55,169.27
 obo employees                                                   No. 13 in Case No.
 618 Church Street,                                              18-05771
 Ste 230
 Nashville, TN 37219
 US Premium                                                                                                                                                               $28,922.38
 Finance
 280 Technology
 Parkway Ste 200
 Norcross, GA 30092




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                         PROHEALTH RURAL HEALTH SERVICES, INC.
                         PO BOX 2029
                         BRENTWOOD TN 37024

                         GRIFFIN S. DUNHAM
                         DUNHAM HILDEBRAND, PLLC
                         2416 21ST AVENUE SOUTH
                         SUITE 303
                         NASHVILLE, TN 37212

                         A. SCOTT DERRICK, ESQ.
                         GULLETT SANFORD ROBINSON & MARTIN, PLLC
                         150 3RD AVE. S., SUITE 1700
                         NASHVILLE TN 37201

                         AABACA HOLDINGS
                         1325 W MAIN STREET
                         FRANKLIN TN 37064

                         AFLAC
                         1932 WYNNTON ROAD
                         COLUMBUS GA 31999

                         AHC SOLUTIONS
                         206 W. CHURCH STREET
                         LEWISBURG TN 37091

                         AUSTIN SWETT, CPA
                         PO BOX 1426
                         FRANKLIN TN 37065

                         BELLEFANT CPA
                         PO BOX 3588
                         BRENTWOOD TN 37024

                         BILL SEKULOVSKI, MD
                         2095 HEMLOCK DRIVE
                         SPRING HILL TN 37174

                         BRIDGES
                         935 EDGEHILL AVE
                         NASHVILLE TN 37203

                         CALEB T. HOLZAEPFEL, ESQ.
                         HUSCH BLACKWELL
                         736 GEORGIA AVENUE, STE 300
                         CHATTANOOGA TN 37402

                         CARDINAL HEALTH
                         PO BOX 420574
                         ATLANTA GA 30384




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                     COREY PENDLETON
                     UI RECOVERY UNIT
                     PO BOX 24150
                     NASHVILLE TN 37202

                     CRYE-LEIKE PROPERTY
                     5111 PETER TAYLOR PARK DR. #700
                     BRENTWOOD TN 37027

                     DIGITAL BUSINESS SOLUTIONS
                     PO BOX 60730
                     IRVINE CA 92602

                     ELIZABETH B. ALPHIN
                     FULTZ MADDOX DICKENS
                     101 S FIFTH ST, 27TH FLOOR
                     LOUISVILLE KY 40202

                     FELIX LAWRENCE, DDS
                     7917 HADENBERRY COURT
                     NASHVILLE TN 37221

                     FIRST TENNESSEE BANK
                     511 UNION STREET
                     NASHVILLE TN 37219

                     FRANKLIN HEATING
                     PO BOX 1306
                     FRANKLIN TN 37065

                     FRANKLIN PLUMBING
                     717 COLUMBIA AVENUE
                     FRANKLIN TN 37064

                     HAROLD E. CRYE LIVING TRUST
                     C/O WESLEY HALL, III, ESQ.
                     223 MADISON STREET, STE 212
                     MADISON TN 37115

                     HEALTHCARE PROFESSIONAL SERVICES
                     313 SWANSON DRIVE
                     LAWRENCEVILLE GA 30043

                     INTERNAL REVENUE SERVICE
                     CENTRALIZED INSOLVENCY OPERATION
                     POST OFFICE BOX 7346
                     PHILADELPHIA PA 19101-7346

                     JANE WHILTE, MD
                     1125 CEDARVIEW LANE
                     FRANKLIN TN 37067

                     JANE WHITE, MD
                     1125 CEDARVIEW LANE
                     FRANKLIN TN 37067

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                     JEFF MCKISSACK
                     8201 MIDDLEWICK LANE
                     NOLENSVILLE TN 37135

                     JOE RUSNAK
                     TUNE, ETREKIN & WHITE, P.C.
                     315 DEADERICK STREET, SUITE 1700
                     NASHVILLE TN 37238

                     JONATHAN WHITE
                     1125 CEDARVIEW LANE
                     FRANKLIN TN 37067

                     LHT KNOXVILLE PROPERTIES
                     1381 COLLECTION CENTER DRIVE
                     CHICAGO IL 60693

                     LINDA BEECHER, MD
                     1520 BRASS OAK TRACE
                     ANTIOCH TN 37013

                     LOEB PROPERTIES
                     825 VALLEYBROOK DRIVE
                     MEMPHIS TN 38120

                     MEDSAFE WASTE
                     204 LUIS AVENUE SUITE A
                     HENDERSONVILLE TN 37075

                     MT. ZION BAPTIST CHRUCH
                     COLLIER INTERNATIONAL
                     615 3RD AVENUE SOUTH 500
                     PA 16483-9700

                     NICHOLAS TSAMBASISS
                     1524 EAST BURT DRIVE #116
                     COLUMBIA TN 38401

                     PAUL NOWAK LAW FIRM
                     725 COOL SPRINGS BLVD , STE 600
                     FRANKLIN TN 37067

                     PHILLIP K. EHRLICH
                     615 THRID AVE S, STE 500
                     NASHVILLE TN 37210

                     PHYSICIAN VENTURE FUND
                     311 LANDRUM PLACE #300
                     CLARKSVILLE TN 37043

                     PROFESSIONAL COMMUNICATIONS
                     105 POPLAR STREET
                     ERIE PA 16507



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                     QUALITY FIRST HEALTHCARE
                     12625 NE 204TH TERRACE
                     WALDO FL 32694

                     QUEST DIAGNOSTICS
                     PO BOX 740736
                     ATLANTA GA 30374

                     QUEST DIAGNOSTICS
                     ATTN: JAWANA MOORE
                     1001 ADAMS AVE
                     NORRISTOWN PA 19403

                     RAY WHITE
                     1125 CEDARVIEW LANE
                     FRANKLIN TN 37067

                     ROBERT D. STALLINGS
                     C/O SETH M. HYATT
                     414 UNION STREET, STE 900
                     NASHVILLE TN 37219

                     RUDY PORTILLO
                     865 BELLEVUE ROAD #812
                     NASHVILLE TN 37221

                     RUTH SIRGO
                     109 ZURIC COURT
                     NASHVILLE TN 37221

                     STANFORD BIOSIMETRY
                     1204 RAYMOND STREET
                     BELLINGHAM WA 98229

                     STAPLES
                     PO BOX 405389
                     ATLANTA GA 30384

                     STONE RUDOLPH & HENRY
                     124 CENTERPOINT DRIVE
                     CLARKSVILLE TN 37040

                     SUSAN PHILLIPS
                     3418 WILLOW LAKE CIRCLE
                     CHATTANOOGA TN 37419

                     THE WHITE FAMILY IRREVOCABLE TRUST
                     5032 TROUSDALE DRIVE
                     NASHVILLE TN 37220

                     THE WHITE FAMILY IRREVOCABLE TRUST
                     1125 CEDARVIEW LANE
                     FRANKLIN TN 37069



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                     THOMAS J. BRIGHT
                     205 DAVISON DRIVE
                     FRANKLIN TN 37064

                     TN DEPT OF LABOR
                     C/O TN ATTY GENERAL'S OFFICE BANKR. DIV.
                     PO BOX 20207
                     NASHVILLE TN 37202

                     TN DEPT OF TENNCARE (BUREAU)
                     C/O TN ATTY GENERAL'S OFFICE BANKR. DIV.
                     PO BOX 20207
                     NASHVILLE TN 37202

                     U.S. DEPT OF LABOR OBO EMPLOYEES
                     618 CHURCH STREET, STE 230
                     NASHVILLE TN 37219

                     US PREMIUM FINANCE
                     280 TECHNOLOGY PARKWAY STE 200
                     NORCROSS GA 30092

                     VALERIE CASTRO RUBANO
                     3700 HENDRICKS HILL DRIVE
                     SMYRNA TN 37167

                     VATALITY OGORODNIK
                     1438 BERN DRIVE
                     SPRING HILL TN 37174




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                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
 In re      Prohealth Rural Health Services, Inc.                                                          Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Prohealth Rural Health Services, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 June 25, 2019                                                         /s/ Griffin S. Dunham
 Date                                                                  Griffin S. Dunham
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Prohealth Rural Health Services, Inc.
                                                                       Dunham Hildebrand, PLLC
                                                                       2416 21st Avenue South
                                                                       Suite 303
                                                                       Nashville, TN 37212
                                                                       615.933.5850 Fax:615.777.3765
                                                                       griffin@dhnashville.com




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